Case 1:22-cv-00340-RDM Document 29-8 Filed 04/07/23 Page 1 of 3




          Exhibit G
Case 1:22-cv-00340-RDM Document 29-8 Filed 04/07/23 Page 2 of 3
                Case 1:22-cv-00340-RDM Document 29-8 Filed 04/07/23 Page 3 of 3


Subject: WE Charity research
To: <nicole.davidson@waEpad.com>


Hi Nicole,

You may recall we spoke back in April rela`ng to WE Charity.

At that `me you stated you could not respond to my ques`ons. I am wondering whether circumstances might have
changed.

I would very much like to get your help with some of the aspects of the research that we discussed in our previous
phone call.

Best regards,

Harvey


Harvey Cashore
Producer, CBC The Fibh Estate
Cell: 416-526-4704


CONFIDENTIAL: This email (including any aEachments) is private, conﬁden`al and meant only for the addressee(s).
Unauthorized use or disclosure of this message is not permiEed. If you gained access to this message in error or
without WE’s authoriza`on, please permanently delete the message and no`fy us right away. Thank you.




                                                                                                                 Page 2 of 2
